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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


 JUSTIN O’BRIEN, on behalf of himself and all
 others similarly situated,

                         Plaintiff,                        Civil Action No. 1-23-cv-00491-RDA-
                                                           LRV
    v.

 SMOOTHSTACK, INC.,

                         Defendant.


         Plaintiff’s Motion for Court-Authorized Notice Pursuant to 29 U.S.C. § 216(b)

         Plaintiff Justin O’Brien, on behalf of himself and those similarly situated, respectfully

moves this Court to authorize that notice be sent pursuant to 29 U.S.C. § 216(b) to all potential

members of the Fair Labor Standards Act Collective (the “FLSA Collective”). In support of this

Motion, Plaintiff submits the accompanying memorandum of law and exhibits.

Dated: July 31, 2023

                                                       Respectfully submitted,


                                                       By: /s/ Molly Elkin
                                                            Molly Elkin

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                                          Attorneys for Plaintiff and the Putative FLSA
                                          Collective




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                                CERTIFICATE OF SERVICE

       I certify that on July 31, 2023, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

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